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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-01073-CMA-GPG


   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK, on behalf of themselves and all others similarly
   situated,

   Plaintiffs,
   v.
   FIRST WESTERN TRUST BANK,
   CHARLES BANTIS, and
   ANDREW GODFREY,
   Defendants.



     SECOND MOTION FOR EXTENSION OF TIME TO RESPOND TO DEFENDANTS’
                MOTION FOR PARTIAL SUMMARY JUDGMENT


           Plaintiffs, by and through their attorneys, Podoll & Podoll, P.C., hereby move for a final

   one-week extension of time to respond to Defendants’ Motion for Partial Summary Judgment

   pursuant to D.C.COLO.LCivR 6.1 and CMA Civ. Practice Standard 6.1 as follows:



                                 CERTIFICATE OF CONFERRAL

           Undersigned counsel has conferred with counsel for Defendants who oppose the relief

   requested.




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          1.        Defendants filed their Motion for Partial Summary Judgment on May 15, 2023

   (Dkt. No. 86).

          2.        The deadline for Plaintiffs to file their Response to Defendants’ Motion for Partial

   Summary Judgment was June 5, 2023.

          3.        Counsel for Plaintiffs were involved in extensive briefing and trial preparation for

   an expedited preferential trial in the matter of Wanda Bertoia, et al and Brett Payton, et al, in

   Denver District Court Case No. 2019CV33523 (captioned Wanda Bertoia, et al., v. Brett Payton,

   et al.) which was to commence on June 20, 2023, and conclude on June 30, 2023.

          4.        In deference to the trial schedule of Plaintiffs’ counsel, the Court granted a two-

   week extension until June 19, 2023. That motion was unopposed.

          5.        Trial preparation was everything it promised to be, and Plaintiffs’ counsel is

   presently in the middle of a two week jury trial.

          6.        Plaintiffs’ counsel attempted to coordinate the response due in this matter on June

   19, but has been unable to complete the response.

          7.        Plaintiffs’ counsel also did not advise the Court of their inability to complete the

   response as required on June 19, 2023.

          8.        Plaintiffs’ have substantially completed their response and will file it tomorrow,

   June 26, 2023.

          9.        Defendants will not be prejudiced by the brief extension and the extension will not

   affect the scheduling of the case.

          10.       Pursuant to CMA Civ. Practice Standard 7.1, a proposed order is submitted

   herewith.




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          WHEREFORE, Plaintiffs respectfully request an additional one week, through and

   including June 26, 2023, to respond to Defendants’ Motion for Partial Summary Judgment.

          Dated: June 25, 2023



                                                         PODOLL & PODOLL, PC

                                                         By:    s/ Richard B. Podoll, Esq.
                                                                Richard B. Podoll, #8775
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                                                                Tel: 303 861-4000
                                                                Fax: 303-861-4001
                                                                Email: rich@podoll.net
                                                                Attorney for Plaintiffs


                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 25, 2023, a true and correct copy of the foregoing was served
   via PACER/ECF upon the following:

          Attorneys for Defendants
          Timothy R. Beyer, Esq.
          Adam B. Stern, Esq.
          Bryan Cave Leighton Paisner LLP
          1700 Lincoln Street, Suite 4100
          Denver, Colorado 80203
          (303) 861-7000
          tim.beyer@bclplaw.com
          adam.stern@bclplaw.com

          I hereby certify that on June 25, 2023, a true and correct copy of the foregoing was
   served via email on Plaintiffs pursuant to D.C.COLO.LCivR 6.1(c).


                                               By:       s/Christa K. Lundquist
                                                           Christa K. Lundquist




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